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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 BROIDY CAPITAL MANAGEMENT, LLC and
 ELLIOTT BROIDY,                                            Case No. 19-cv-00150-DLF

                                        Plaintiffs,

                           v.

 NICOLAS D. MUZIN, JOSEPH ALLAHAM,
 GREGORY HOWARD, STONINGTON
 STRATEGIES, LLC,

                                        Defendants.



              DECLARATION OF HENRY B. BROWNSTEIN
  IN SUPPORT OF PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER AND TO
QUASH SUBPOENAS, AND TO STRIKE DEFENDANTS’ AFFIRMATIVE DEFENSES

       I, Henry B. Brownstein, declare under penalty of perjury that the following is true and

correct:

       1.       I am an attorney at Kasowitz Benson Torres LLP, counsel for Plaintiffs Broidy

Capital Management, LLC and Elliott Broidy (together, “Plaintiffs”) in the above-captioned

action. I am a member in good standing of the bar of the District of Columbia and the bar of

this Court.

       2.       I submit this declaration in support of Plaintiffs’ Motion for Protective Order and

to Quash Subpoenas, and to Strike Defendants’ Affirmative Defenses. I have personal

knowledge of the facts set forth in this Declaration.

       3.       Attached hereto as Exhibit 1 is a true and correct copy of Defendant Gregory

Howard’s (“Howard”) First Set of Requests for Admission (“RFAs”) served on Broidy Capital

Management, LLC and Elliot Broidy (together, “Broidy”), dated December 6, 2021.
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       4.     Attached hereto as Exhibit 2 is a true and correct copy of Defendants Nicolas D.

Muzin and Stonington Strategies LLC’s (together, “Muzin”) First Set of Requests for

Production of Documents (“RFPs”) served on Broidy, dated November 9, 2021.

       5.     Attached hereto as Exhibit 3 is a true and correct copy of Howard’s First Set of

RFPs served on Broidy, dated December 6, 2021.

       6.     Attached hereto as Exhibit 4 is a true and correct copy of Muzin’s First Set of

Interrogatories (“ROGs”) served on Broidy, dated November 9, 2021.

       7.     Attached hereto as Exhibit 5 is a true and correct copy of Howard’s First Set of

ROGs served on Broidy, dated December 6, 2021.

       8.     Attached hereto as Exhibit 6 is a true and correct copy of Muzin’s Subpoena

issued to Circinus, LLC (“Circinus”), dated December 21, 2021.

       9.     Attached hereto as Exhibit 7 is a true and correct copy of Muzin’s Rule 45

Subpoena to Produce Documents, Information or Objects or to Permit Inspection of Premises in

a Civil Action (“Subpoena”) served on Bluelight Strategies, omitting Appendix A (Production

Protocol Specifications), dated January 14, 2022.

       10.    Attached hereto as Exhibit 8 is a true and correct copy of Muzin’s Subpoena

issued to Ronald Bonjean, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

       11.    Attached hereto as Exhibit 9 is a true and correct copy of Muzin’s Subpoena

issued to Steven Rabinowitz, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.




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        12.   Attached hereto as Exhibit 10 is a true and correct copy of Muzin’s Subpoena

issued to Edward Royce, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

        13.   Attached hereto as Exhibit 11 is a true and correct copy of Muzin’s Subpoena

issued to Charles Wald, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

        14.   Attached hereto as Exhibit 12 is a true and correct copy of Muzin’s Subpoena

issued to American Media Institute, omitting Appendix A (Production Protocol Specifications),

dated February 4, 2022.

        15.   Attached hereto as Exhibit 13 is a true and correct copy of Muzin’s Subpoena

issued to Richard Miniter, omitting Appendix A (Production Protocol Specifications), dated

February 4, 2022.

        16.   Attached hereto as Exhibit 14 is a true and correct copy of Muzin’s Subpoena

issued to Robin Rosenzweig (“Rosenzweig”), omitting Appendix A (Production Protocol

Specifications), dated December 21, 2021.

        17.   Attached hereto as Exhibit 15 is a true and correct copy of Muzin’s Subpoena

issued to Joel Mowbray (“Mowbray”), omitting Appendix A (Production Protocol

Specifications), dated December 21, 2021.

        18.   Attached hereto as Exhibit 16 is a true and correct copy of Howard’s Subpoena

issued to Circinus, omitting Appendix A (Production Protocol Specifications), dated January 6,

2022.




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       19.    Attached hereto as Exhibit 17 is a true and correct copy of Muzin’s Subpoena

issued to Delong Cheng, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

       20.    Attached hereto as Exhibit 18 is a true and correct copy of Muzin’s Subpoena

issued to David Reaboi, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

       21.    Attached hereto as Exhibit 19 is a true and correct copy of Muzin’s Subpoena

issued to Ileana Ros-Lehtinen, omitting Appendix A (Production Protocol Specifications), dated

January 14, 2022.

       22.    Attached hereto as Exhibit 20 is a true and correct copy of Howard’s Subpoena

issued to AT&T (Pacific Bell), omitting Appendix A (Production Protocol Specifications), dated

January 26, 2022.

       23.    Attached hereto as Exhibit 21 is a true and correct copy of Howard’s Subpoena

issued to T-Mobile USA, Inc., omitting Appendix A (Production Protocol Specifications), dated

January 26, 2022.

       24.    Attached hereto as Exhibit 22 is a true and correct copy of Howard’s Subpoena

issued to Bandwidth, omitting Appendix A (Production Protocol Specifications), dated January

26, 2022.

       25.    Attached hereto as Exhibit 23 is a true and correct copy of Howard’s Subpoena

issued to Verizon Wireless, omitting Appendix A (Production Protocol Specifications), dated

January 26, 2022.




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       26.    Attached hereto as Exhibit 24 is a true and correct copy of Howard’s Subpoena

issued to Hudson Institute, Inc., omitting Appendix A (Production Protocol Specifications),

dated January 26, 2022.

       27.    Attached hereto as Exhibit 25 is a true and correct copy of Howard’s Subpoena

issued to Secure America Now Foundation, omitting Appendix A (Production Protocol

Specifications), dated January 26, 2022.

       28.    Attached hereto as Exhibit 26 is a true and correct copy of Howard’s Subpoena

issued to Jewish Institute for National Security of America, omitting Appendix A (Production

Protocol Specifications), dated January 27, 2022.

       29.    Attached hereto as Exhibit 27 is a true and correct copy of Howard’s Subpoena

issued to Aaron Keyak, omitting Appendix A (Production Protocol Specifications), dated

January 28, 2022.

       30.    Attached hereto as Exhibit 28 is a true and correct copy of Broidy’s Responses &

Objections to Muzin’s First Set of RFPs, dated December 23, 2021.

       31.    Attached hereto as Exhibit 29 is a true and correct copy of Broidy’s Responses &

Objections to Howard’s First Set of RFPs, dated January 5, 2022.

       32.    Attached hereto as Exhibit 30 is a true and correct copy of Broidy’s Responses &

Objections to Joseph Allaham’s (“Allaham”) First Set of RFPs, dated January 20, 2022.

       33.    Attached hereto as Exhibit 31 is a true and correct copy of Broidy’s Responses &

Objections to Muzin’s First Set of ROGs, dated December 23, 2021.

       34.    Attached hereto as Exhibit 32 is a true and correct copy of Broidy’s Second

Amended Responses & Objections to Howard’s First Set of ROGs, dated February 7, 2022.




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       35.    Attached hereto as Exhibit 33 is a true and correct copy of Broidy’s Responses &

Objections to Allaham’s First Set of ROGs, dated January 20, 2022.

       36.    Attached hereto as Exhibit 34 is a true and correct copy of Broidy’s Responses &

Objections to Howard’s First Set of RFAs, dated January 5, 2022.

       37.    Attached hereto as Exhibit 35 is a true and correct copy of Mowbray’s Responses

& Objections to Muzin’s Document Subpoena, dated January 14, 2022.

       38.    Attached hereto as Exhibit 36 is a true and correct copy of Rosenzweig’s

Responses & Objections to Muzin’s Document Subpoena, dated January 14, 2022.

       39.    Attached hereto as Exhibit 37 is a true and correct copy of Circinus’s Responses

& Objections to Muzin’s Document Subpoena, dated January 14, 2022.

       40.    Attached hereto as Exhibit 38 is a true and correct copy of Circinus’s Responses

& Objections to Howard’s Document Subpoena, dated January 28, 2022.

       41.    Attached hereto as Exhibit 39 is a true and correct copy of Howard’s Subpoena

issued to Aaron Keyak, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       42.    Attached hereto as Exhibit 40 is a true and correct copy of Howard’s Subpoena

issued to Adelle Nazarian, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       43.    Attached hereto as Exhibit 41 is a true and correct copy of Howard’s Subpoena

issued to Andrew Harrod, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.




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       44.    Attached hereto as Exhibit 42 is a true and correct copy of Howard’s Subpoena

issued to AT&T (Pacific Bell), omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       45.    Attached hereto as Exhibit 43 is a true and correct copy of Howard’s Subpoena

issued to Bandwidth, omitting Appendix A (Production Protocol Specifications), dated February

14, 2022.

       46.    Attached hereto as Exhibit 44 is a true and correct copy of Howard’s Subpoena

issued to Daniel Pipes, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       47.    Attached hereto as Exhibit 45 is a true and correct copy of Howard’s Subpoena

issued to EJ Kimball, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       48.    Attached hereto as Exhibit 46 is a true and correct copy of Howard’s Subpoena

issued to Foundation for the Defense of Democracies, omitting Appendix A (Production

Protocol Specifications), dated February 14, 2022.

       49.    Attached hereto as Exhibit 47 is a true and correct copy of Howard’s Subpoena

issued to Gregg Roman, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       50.    Attached hereto as Exhibit 48 is a true and correct copy of Howard’s Subpoena

issued to Middle East Forum, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.




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       51.     Attached hereto as Exhibit 49 is a true and correct copy of Howard’s Subpoena

issued to T-Mobile USA, Inc., omitting Appendix A (Production Protocol Specifications), dated

January February 14, 2022.

       52.     Attached hereto as Exhibit 50 is a true and correct copy of Howard’s Subpoena

issued to Verizon Wireless, omitting Appendix A (Production Protocol Specifications), dated

February 14, 2022.

       53.     Attached hereto as Exhibit 51 is a true and correct copy of a letter from Stephen

J. Obermeier and Jeffrey A. Udell to Andrew Kurland Re: Broidy Capital Management, LLC, et

al. v. Muzin, et al. – Plaintiffs’ Discovery Response Deficiencies, dated January 12, 2022.

       54.     Attached hereto as Exhibit 52 is a true and correct copy of a June 6, 2018 hearing

transcript in front of Hon. Katherine B. Forrest of the Southern District of New York in the

related action Broidy Capital Management LLC v. Joseph Allaham, S.D.N.Y. Case No. 18-mc-

00240-KBF.



Executed on this 14th day of February 2022, at Washington, D.C.

                                                        /s/ Henry B. Brownstein
                                                        Henry B. Brownstein




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